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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. MJ 08-215
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TOVA AMY WEISS,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession with Intent to Distribute Methamphetamine

15 Date of Detention Hearing:     May 12, 2008

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant has been charged in the District of Alaska (Case No. 3:08-MJ-00096-

22 DMS) with a drug offense the maximum penalty of which is in excess of ten years. There is

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 therefore a rebuttable presumption against defendant as to both dangerousness and flight risk,

02 under 18 U.S.C. §3142(e).

03          2.      Defendant has reported mental health problems, but is not currently receiving

04 treatment. Substance abuse problems are indicated. Much of her background information was

05 unverified, including financial information. She has been unemployed for much of her adult life.

06 She has no ties to the charging District.

07          3.      Defendant wishes to explore the possibility of having the District of Alaska case

08 transferred to this District. If so, this Court would consider release to an inpatient substance abuse

09 treatment program.

10          4.      Taken as a whole, the record does not effectively rebut the presumption that no

11 condition or combination of conditions will reasonably assure the appearance of the defendant as

12 required and the safety of the community.

13 It is therefore ORDERED:

14          (1)     Defendant shall be detained pending trial and committed to the custody of the

15                  Attorney General for confinement in a correction facility separate, to the extent

16                  practicable, from persons awaiting or serving sentences or being held in custody

17                  pending appeal;

18          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                  counsel;

20          (3)     On order of a court of the United States or on request of an attorney for the

21                  Government, the person in charge of the corrections facility in which defendant is

22                  confined shall deliver the defendant to a United States Marshal for the purpose of

     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 12th day of May, 2008.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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